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                                                                       Plaintiff designates
                                                                       Bronx County
                                                                       as the place of trial.

                                                                       The basis of venue is the
                                                                       Plaintiff's residence address.

                                                                       Plaintiff resides at
                                                                       2115 Ryer Ave., Apt. 32A
                                                                       Bronx, New York 10457

            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF BRONX
                                                 X
            SHATIA SIMMONS,
                                     Plaintiff,                                SU1VIIVIONS

                    against-

            WAL-MART STORES,INC., WAL-MART STORES,
            INC. d/b/a SAM'S CLUB,SAM'S REAL ESTATE
            BUSINESS TRUST and SAM'S CLUB,
                                         Defendants.

             To the above-named defendants:

                    YOU ARE HEREBY SUMMONED;to answer the complaint in this action and to
            serve a copy of your answer, or, if the complaint is not served with this summons, to
            serve a notice of appearance, on the plaintiff's attorneys within - 20- days after the
            service of this summons, exclusive of the day of service (or within 30 days after the
            service is complete if this summons is not personally delivered to you within the State of
            New York); and in case of your failure to appear or answer,judgment will be taken
            against you by default for the relief demanded in the complaint.
                                                                          SOBO & SOBO,LLP



                                                                       John Maz7arb, Esq.
                                                                       Attorneys for Plaintiff
                                                                       One Dolson Avenue
                                                                       Middletown, NY 10940
                                                                      (845) 343-7626
            Dated: January 15, 2021
                   Middletown, New York

            Defendants addresses: See Complaint




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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF BRONX

            SHATIA SIMMONS,

                                          Plaintiff,                           VERIFIED
                                                                               COMPLAINT

                      -against-


            WAL-MART STORES,INC., WAL-MART STORES,
            INC. d/b/a SAM'S CLUB,SAM'S REAL ESTATE
            BUSINESS TRUST and SAM'S CLUB,

                                         Defendants.
                                                                   X

                    Plaintiff, SHATIA.SIMMONS, by her attorneys, SOBO & SOBO, L.L.P., as and

            for the Verified Complaint, herein alleges the following:

                    1. That at all times. hereinafter mentioned, the Plaintiff, SHATIA SIMMONS,

            was and still is a resident of the County of Bronx, State of New York.

                    2. That at • all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES, INC., was and still is a domestic corporation

            organized and existing under and by virtue of the Laws of the State of New York.

                    3. That at all times hereinafter mentioned, upon information and belief, the

            efendant, WAL-MART STORES, INC., was and still is a foreign corporation duly

            authorized to do business within the State of New York.

                    4. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES, INC., was a still is a business entity doing business

            within the State of New York.




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                    5. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was and still is a

            domestic corporation organized and existing under and by virtue of the Laws of the State

            of New.York.

                    6. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was and still is a foreign

            corporation duly authorized to do business within the State of New York.

                    7. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was a still is a business

            entity doing business within the State of New York.

                    8. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, was and still is a domestic

            corporation organized and existing under .and by virtue of the Laws of the State of New

            York.

                    9. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, was and still is a foreign

            corporation duly authorized to do business within the State of New York.

                    10. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTA lb BUSINESS TRUST, was a still is a business entity

            doing business within the State of New York.

                    1 1. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S CLUB, was and still is a domestic corporation organized and existing

            under and by virtue of the Laws of the State of New York.




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                    12. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S CLUB, was and still is a foreign corporation duly authorized to do

            business within the State of New York.

                    13. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S CLUB, was a still is a business entity doing business within the State

            of New York.

            •       14. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., was the owner of a certain premises located at

            333 Saw Mill River Road, Elmsford, County of Westchester, State of New York, known

            as "Sam's Club."

                    15. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., maintained the aforesaid premises.

                    16.   That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC.,.managed the aforesaid premises.

                    17. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., controlled the aforesaid premises.

                    18. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., operated the aforesaid premises.

                    19. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., was the lessee of the aforesaid premises.

                    20.   That at all times hereinafter mentioned, upon information and belief, the

            Defendant, WAL-MART STORES,INC., was the lessor of the aforesaid premises.




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                       21. That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was the owner of a

               certain premises located at 333 Saw Mill River Road, Elmsford, County of Westchester,

               State of New York, known as "Sam's Club."

                       22. That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, maintained the aforesaid

               premises.

                       23.   That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, managed the aforesaid

               premises.

                       24. That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, controlled the aforesaid

               premises.

                       25. That at 411 times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, operated the aforesaid

               premises.

                       26. That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was the lessee of the

               aforesaid premises.

                       27.   That at all times hereinafter mentioned, upon information and belief, the

               Defendant, WAL-MART STORES, INC. d/b/a SAM'S CLUB, was the lessor of the

               aforesaid premises.




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                    28. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, was the owner of a certain

            premises located at 333 Saw Mill River Road, Elmsford, County of Westchester, State of

            New York, known as "Sam's Club."

                    29. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, maintained the aforesaid

            premises.

                    30.   That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, managed the aforesaid

            premises.

                    31. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, controlled the aforesaid

            premises.

                    32. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, operated the aforesaid

            premises.

                    33. That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, was the lessee of the aforesaid

            premises.

                    34.   That at all times hereinafter mentioned, upon information and belief, the

            Defendant, SAM'S REAL ESTATE BUSINESS TRUST, was the lessor of the aforesaid

            premises.




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                      35. That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB, was the owner of a certain premises located at 333 Saw Mill

             River Road, Elmsford, County of Westchester, State of New York, known as "Sam's

             Club."

                      36. That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB, maintained the aforesaid premises.

                      37.   That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB, managed the aforesaid premises.

                      38. That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB,controlled the aforesaid premises.

                      39. That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB,operated the aforesaid premises.

                      40. That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB, was the lessee of the aforesaid premises.

                      41.   That at all times hereinafter mentioned, upon information and belief, the

             Defendant, SAM'S CLUB, was the lessor of the aforesaid premises.

                      42.   That at all times hereinafter mentioned, aisleway between the bakery

             department and meat department, located on the aforesaid premises was the situs of the

             within accident.

                      43. That on or about the 4th day of March, 2020, while this Plaintiff was lawfully

             upon the aforesaid premises, she was caused to be precipitated to the ground, thereby

             sustaining severe and serious personal injuries.




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                    44. The negligent, wanton, reckless and careless acts of the Defendants, their

            agents, servants and/or employees were a cause of the accident and resultant injuries.

                    45. That the Defendants, their agents, servants and/or employees were negligent,

             wanton, reckless and careless in, among other things, allowing, causing and/or permitting

            dangerous, hazardous, slippery and/or unsafe conditions to exist on the aforesaid

            premises; in allowing rotisserie chicken grease to accumulate on the floor; in acting with

            reckless disregard for the safety of others, and the Defendants, their agents, servants

            and/or employees were in other ways negligent, wanton, reckless and careless.

                    46. That the Defendants, their agents, servants and/or employees had actual

            and/or constructive notice of the dangerous and/or defective conditions in that the

            conditions existed for a sufficient length of time prior to the happening of the incident

            and in the exercise of reasonable care, the Defendants could have and should have had

            knowledge and notice thereof and further, the Defendants, their agents, servants and/or

            employees created said condition.

                    47. The limited liability provisions of CPLR 1601 do not apply pursuant to the

            exceptions of CPLR 1602, including, but not limited to, 1602(2)(iv), 1602(7) and

            1602(11).

                    48.   That by reason of the foregoing, this Plaintiff was caused to sustain severe

            and serious personal injuries to her mind and body, some of which, upon information and

            belief, are permanent with permanent effects of pain, disability, disfigurement and loss of

            body function. Further, this Plaintiff was caused to expend and become obligated for

            diverse sums of money for the purpose of obtaining medical care and/or cure in an effort

            to alleviate the suffering and ills sustained as a result of this accident; the Plaintiff further




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             was caused to lose substantial periods of time from her normal vocation and activities,

            and upon information and belief, may continue in that way into the future and suffer

            similar losses.

                    49.       That by reason of the foregoing, this Plaintiff has been damaged in a sum

            that exceeds the jurisdictional limits of all lower courts which would otherwise have

            jurisdiction of this matter.

                    WHEREFORE,Plaintiff demands judgment against the Defendants, and each of

            them, as follows:

                    A sum that exceeds the jurisdictional limits of all lower courts which would

            otherwise have jurisdiction in this matter, together with the costs and disbursements of

            this action.



            DATED: January 15, 2021
                   Middletown, New York


                                                                    Sohn Mazzar6, Esq.
                                                                    SOB° & SOBO,LLP
                                                                  • Attorneys for Plaintiff
                                                                    One Dolson Avenue
                                                                    Middletown, NY 10940.
                                                                  (845)343-7626



            TO:     WAL-MART STORES,INC.
                    C/o Secretary of State

            TO:     WAL-MART STORES,INC.
                    d/b/a SAM'S CLUB
                    C/o Secretary of State




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            TO:     SAM'S REAL ESTATE BUSINESS TRUST
                    C/o Secretary of State

            TO:     SAM'S CLUB
                    C/o Defendant in Person
                    333 Saw Mill River Road
                    Elmsford, New York 10523




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                                                    VERIFICATION

            STATE OF NEW YORK,
            COUNTY OF BRONX                     ss:


            SHATIA SIMMONS,being duly sworn says; I am the Plaintiff in the action herein;
            I have read the annexed Verified Complaint,know the contents thereof and the same
            are true to my knowledge, except those matters therein which are stated to be alleged
            on information and belief, and as to those matters I believe them to be true.




            Sworn to before me on this

               l*I0,1. VI                  , 2021


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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF brty\



                           Plaintiff/Petitioner,

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                              NOTICE OFELECTRONIC ,FIUNG
                                   • (Mandatory
                                     •          Case)
                                 (Uniform'Rule §.202:54th)

     You have received this Notice• because:

            1)The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
            New York State Courts E-filing system ("NYSCEF'), and

           '2):.YoU are:a Defendant/Respondent-(a.party).in:this:case.

        If you are represented by an attorney:
        Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

     •If you are not represented'b_yan •aftorney:
      Youwill be served with all documents in paperand you must serveand file your
      documents in paper, unless you:choose:to participateln fiJj

       If you choose to participate:in e-filing, you muit,haveaccessloacomputer and a
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      to theinternet, and:an:e-mail address to receive service of documents.

      The benefits of participating in e-fifing include:

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                  •free access to view and print your e-filed documents

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                  •paying any court fees on-line (credit card needed)

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    • Visit: www:nycourts.00v/efile-unrepresented or
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    •contact the Clerk's Office or Help Center at the court where the case was filed.. Court
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         To find legal:information.to help you represent yourself visit www.nycourthelp.gov •

                                                        Information for Attorneys
                                             .-(E-filing is ,Mandatory for Attorneys)

        . An attorney representing aparty who is served with thismOtice mustaither:

                 1.) -immediately 'record his or .her representation "within -the e-filed matter on the
               • NYSCEF Site www.nycoutts.00v/efile ; or            •

               2)'file the- Notice of • Opt-Out form with the clerk of the court.where this action is
               •pending and serve on•:all:parties.:Exemptionsfrom mandatory e4iling are limited to
               attorneys who certify in• good •.faith "that they •-labk the, computer hardware and/or
               scannerand/orintemetconnection orthattheylaCk(along vilith all.employees.suOjed
               to their direction)the,knowledge to operate such equipment.[Section . 202.5-bb(e))

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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF BRONX
         ------------------------------------------------------------------X
         SHATIA SIMMONS,                                                        Index No.: 800643/2021E

                                   Plaintiff,

                 -against-                                                      VERIFIED ANSWER

         WAL-MART STORES, INC., WAL-MART STORES,
         INC. D/B/A SAM’S CLUB, SAM'S REAL ESTATE
         BUSINESS TRUST AND SAM’S CLUB,

                                    Defendants.
         ------------------------------------------------------------------X
                             The defendant, SAM’S EAST, INC. I/S/H/A "WAL-MART STORES, INC.,

          WAL-MART STORES INC. D/B/A SAM’S CLUB, SAM’S REAL ESTATE BUSINESS

          TRUST, AND SAM’S CLUB", by its attorneys, BRODY O'CONNOR & O'CONNOR,

          answering the Verified Complaint herein states upon information and belief:

                                1: Defendant denies having knowledge or information sufficient to form a

              belief as to the allegations set forth in paragraph marked “1” and each and every part thereof.

                                2: Defendant denies the allegations set forth in paragraph marked “2” except

              admits that SAM'S EAST, INC. is a foreign corporation registered to do and doing business

              in the State of New York.

                                3: Defendant denies the allegations set forth in paragraphs marked “3”, “4”,

              “5”, “6”, “7”, “8”, “9”, “10”, “11”, “12” and “13” except admits that SAM'S EAST, INC. is a

              foreign corporation registered to do and doing business in the State of New York.

                                4: Defendant denies the allegations set forth in paragraphs marked “14”, “15”,

              “16”, “17”, “18”, “19”, “20”, “21”, “22”, “23”, “24”, “25”, “26”, “27”, “28”, “29”, “30”,

              “31”, “32”, “33”, “34”, “35”, “36”, “37”, “38”, “39”, “40” and “41” except admits that




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             SAM'S EAST, INC. is the sublessee of that portion of the premises comprising the Elmsford

             Sam's Club and is the operator of the Elmsford Sam's Club, leaving all questions of fact to

             the jury and all questions of law to the court.

                             5: Defendant denies having knowledge or information sufficient to form a

             belief as to the allegations set forth in paragraphs marked “42” and “43” and each and every

             part thereof.

                             6: Defendant denies the allegations set forth in paragraphs marked “44”, “45”

             and “46” and each and every part thereof.

                             7: Defendant denies the allegation set forth in paragraph marked “47” and

             refers all questions of law to the trial court.

                             8: Defendant denies having knowledge or information sufficient to form a

             belief as to the allegations set forth in paragraphs marked “48” and “49” and each and every

             part thereof.

                               AS AND FOR A FIRST AFFIRMATIVE DEFENSE

                             9: The plaintiff was guilty of culpable conduct, including contributory

             negligence and/or assumption of risk, and should an award be made to plaintiff, same should

             be diminished in the proportion which the culpable conduct and/or contributory negligence

             and/or assumption of risk attributable to the plaintiff bears to the culpable conduct and/or

             negligence which caused the damages.




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                              AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                             10: In the event that plaintiff recovers judgment against this answering

             defendant and it is determined that plaintiff’s damages was caused in whole or in part by two

             or more joint tortfeasors, then defendant’s liability herein for non-economic loss may not

             exceed its equitable share of said damages in accordance with its relative culpability, as

             provided by Section 1601 of the CPLR.

                                AS AND FOR A THIRD AFFIRMATIVE DEFENSE

                             11: Plaintiff’s recovery, if any shall be reduced by the amount of any

             collateral payments received, in accordance with CPLR Section 4545.

                                      12: AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

                             13: To the extent that plaintiff was an employee or special employee of the

             defendant, SAM’S EAST, INC., her claim in this matter is barred by her acceptance of

             Workers’ Compensation Benefits.

                         WHEREFORE, defendant, SAM’S EAST, INC. I/S/H/A "WAL-MART

          STORES, INC., WAL-MART STORES INC. D/B/A SAM’S CLUB, SAM’S REAL ESTATE

          BUSINESS TRUST, AND SAM’S CLUB", requests judgment dismissing the Complaint herein,

          together with costs and disbursements of this action.

          Dated: Northport, New York
                 March 08, 2021
                                                        Yours, etc.




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                                              BRODY O'CONNOR & O'CONNOR
                                              Attorneys for Defendant


                                              By:   ____________________________________
                                                    PATRICIA A. O’CONNOR
                                                    7 Bayview Avenue
                                                    Northport, New York 11768
                                                    (631) 261-7778
                                                    File No.: WM 21-201 PC
          TO:   SOBO & SOBO, LLP
                Attorneys for Plaintiff
                One Dolson Avenue
                Middletown, New York 10940
                (845) 343-7626




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                                          AFFIRMATION BY ATTORNEY


                          The undersigned, an attorney admitted to practice in the Courts of the State of

          New York, shows:

                          That affirmant is the attorney for the defendant in the within action; that affirmant

          has read the foregoing Verified Answer and knows the contents thereof; that the same is true to

          the affirmant’s knowledge, except as to the matters therein stated to be alleged on information

          and belief; and that as to those matters, affirmant believes it to be true.

                          Affirmant further says that the reason this Verification is made by deponent and

          not by the defendant is that defendant is a foreign limited partnership.

                          The ground of belief as to all matters not stated upon deponent’s knowledge are

          documents, correspondence and records maintained in your deponent’s files and conversations

          and conferences has with the defendant.

                          The undersigned affirms that the foregoing statements are true under the penalties

          of perjury.

          Dated: Northport, New York
                 March 08, 2021

                                                          __________________________________________
                                                          PATRICIA A. O’CONNOR




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